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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

MICHAEL SIMONS CIVIL ACTION NO.
Plaintiff, 3:19-CV-01547(VAB)
Vv.
YALE UNIVERSITY,
PETER SALOVEY,

ROBERT ALPERN, M.D.,
UNKNOWN PERSONS :
Defendant. : November 27, 2019

MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS AND
MOTION TO STRIKE AND FOR MORE DEFINITE STATEMENT

The plaintiff, Michael Simons, brings this lawsuit in a scattershot
attempt to resurrect a previous action in which he alleged breach of contract by
the defendants Yale University (“University”) and Peter Salovey. In that prior
action, he sought unsuccessfully to enjoin his removal from the Waldemar von
Zedtwitz Professorship by Yale University, and voluntarily withdrew the case
when the defendants moved to dismiss it.

By motion dated November 27, 2019, the defendants Yale University,
Peter Salovey, and Robert Alpern, M.D. (“University Defendants”), have moved

to dismiss the nine-count Complaint filed by the plaintiff on October 1, 2019 as
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time-barred and for failing to state a plausible claim upon which relief can be
granted, and have further moved to strike or in the alternative for a more
definite statement of the plaintiff's allegations concerning “unknown persons.”
The University Defendants submit this Memorandum of Law in support of that
Motion.
I. BACKGROUND

The Complaint alleges the following facts, which are assumed as true as
required for the purposes of this Motion: In 2013, the Yale University-Wide
Committee on Sexual Misconduct (“Committee”) concluded that the plaintiff
had sexually harassed a junior colleague. Compl. 9 18, 20-21. The plaintiff
was suspended for eighteen months. Id. at § 22. In 2013, the plaintiff
resigned as Chief of Cardiology. Id. at { 23. In 2013, the plaintiff was removed
as Director of the Cardiovascular Research Center. Id. On June 22, 2018, the
plaintiff was transferred from the Robert Berliner Professorship to the
Waldemar Von Zedtwitz Professorship. Id. at 1 31. On September 21, 2018,
the plaintiff was removed from the Von Zedtwitz Professorship. { 38.

On September 21, 2018, the plaintiff filed an application for injunction

and complaint in Connecticut Superior Court, seeking an order enjoining the
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University from removing him from the Von Zedtwitz Professorship, which the
Court denied. See Simons v. Yale University et al., NNH-CV18-5043992-S, Doc.
102; Compl. { 39. On November 11, 2018, the University moved to dismiss the
action for lack of jurisdiction resulting from insufficient service of process and
insufficient process, and for failure to verify the complaint. Simons, supra,
Doc. 105. The plaintiffs opposition was due on December 11, 2018. On
January 3, 2019, the plaintiff withdrew the action. Id., Doc. 107.

On February 28, 2019, the plaintiff filed a complaint with the
Connecticut Commission on Human Rights and Opportunities (“Commission”)
alleging violations of Conn. Gen. Stat. 46a-60(a)(1) and Title VII of the Civil
Rights Act of 1964, as amended, 42 U.S.C. § 2000e (“Title VII”). See Exhibit A;
Compl. J 41. ‘On June 11, 2019, the Commission dismissed the plaintiff’s
complaint because his removal from the Von Zedtwitz Professorship “was based
on the Complainant’s previous violation of the Respondent’s sexual misconduct
policy, not the Complainant’s protected classes.” See Exhibit B. On the same
date, the Commission released its jurisdiction over the plaintiff's complaint.
See Exhibit C; Compl. q 41. |

On October 1, 2019, the plaintiff filed the instant complaint, alleging
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breach of contract, breach of the implied warranty of fair dealing, wrongful
discharge, negligent infliction of emotional distress, violation of Title LX of the
Education Amendments of 1972, U.S.C. § 1681 (“Title IX”), violation of Title VII,
and breach of privacy. Compl. On October 18, 2019, the University
Defendants moved with the consent of the plaintiff to extend the time within
which to file a responsive pleading or motion until December 2, 2019. Doc. 14.
Il. LEGAL STANDARDS
A. Motion to Dismiss

A party may assert the defenses of lack of subject-matter jurisdiction and
failure to state a plausible claim upon which relief can be granted by a motion
to dismiss. See .F.R.C.P. 12(b). It is well settled that “[t]o survive a motion to
dismiss, a complaint must contain sufficient factual matter, accepted as true,
to state a plausible claim to relief that is plausible on its face.” Ashcroft v.
Igbal, 556 U.S. 662, 678 (2009); see also F.R.C.P. 12(b)(6).

Generally, under F.R.C.P. 12(b)(6) the Court’s review “is limited to the
facts as asserted within the four corners of the complaint, the documents
attached to the complaint as exhibits, and any documents incorporated in the

complaint by reference.” McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184,
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191 (2d Cir. 2007). However, the Court may also consider “matters of which
judicial notice may be taken” and “documents either in plaintiffs' possession or
of which plaintiffs had knowledge and relied on in bringing suit.” Brass v. Am.
Film Techs., Inc., 987 F.2d 142, 150 (2d Cir. 1993).
B. Motion to Strike

On motion by either party, “the court may order stricken from any
pleading any insufficient defense or any redundant, immaterial, impertinent or
scandalous matter.” F.R.C.P. 12(f).
C. Motion for More Definite Statement

A party “may move for a more definite statement of a pleading to which a
responsive pleading is allowed but which is so vague or ambiguous that the
party cannot reasonably prepare a response.” F.R.C.P. 12(e).
Ill. ARGUMENT
A. The Complaint should be dismissed.

The allegations of the plaintiff’s complaint are time-barred, and fail to
state a plausible claim under Connecticut common law, Title IX, or Title VII.

The Complaint should therefore be dismissed in its entirety.
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1. Count One is time-barred and fails to state a plausible claim of breach
of contract for which relief can be granted.

Contractual claims, including breach, are subject to a six-year statute of
limitations under Connecticut law. C.G.S. § 52-576. The plaintiff alleges three
specifications of breach of contract: “imposition of successive and duplicative
punishment”; “unilaterally removing the plaintiff from his endowed chair”; and
“removing the plaintiff from his endowed chair without any meaningful
opportunity to contest the removal.” Compl. { 12. In respect of these
specifications of breach, the plaintiff alleges that he was suspended in 2013,
removed from as Director of the Cardiovascular Research Center, and removed
from the Von Zedtwitz Professorship in 2018. Compl. {4 21, 23, 39.

Conspicuously, the plaintiff omits the dates of his suspension and
removal as the Director of the Cardiovascular Research Center, but he alleges
that his removal as Director took place after “a second series of stories in the
New York Times.” Compl. 7 23. Those publications disclose that the plaintiff

was suspended in January 2013.! The plaintiff filed his complaint in this

 

1 See T. Lewin, Yale Medical School Removes Doctor After Sexual Harassment Finding, N.Y.
TIMES (Nov. 14, 2014), https: / /nyti.ms/1BpU9cu; see also T. Lewin, Handling of Sexual
Harassment Case Poses Larger Questions at Yale, N.Y. TIMES (Nov. 1, 2014),

https: / /nyti.ms/lwTfpSG. The Court may consider these in deciding the motion to dismiss as
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action on October 1, 2019, over six years later. Accordingly, to the extent that
the plaintiff claims that the University breached a contract by “imposition of
successive and duplicative punishment” that included his suspension in
January 2013, that claim must be dismissed as time-barred. C.G.S. § 52-576.

In any event, the plaintiff fails to state a plausible claim of breach of
contract. “The elements of a breach of contract action are the formation of an
agreement, performance by one party, breach of the agreement by the other
party and damages.” U.S. Bank Nat'l Ass'n v. Eichten, 184 Conn. App. 727, 761
(2018) (citations omitted).

The plaintiff fails to allege the formation of an agreement regarding the
matter as to which he claims a breach by the University Defendants, nor can
he do so. The plaintiff alleges he entered into a contract of employment in
2008 and that contract was amended in 2009. Compl. | 44. Yet, the plaintiff
continues to allege that a “material term of the contract was the university’s
and Dr. Simon’s being bound and obligated to the rights and duties imposed by

the Procedures Governing the University-Wide Committee on Sexual

 

documents incorporated into the complaint by reference, or as documents in the plaintiffs
possession and on which the plaintiff relied in bringing suit. See McCarthy, supra at 191;
Brass, supra at 150.
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Misconduct.” Compl., | 45 (emphasis added). The plaintiff previously alleged
that those Procedures were created after 2011. Compl. 4q 14-15. If the
Procedures were a material term of the contract, and those Procedures were
not promulgated until after 2011, there could be no formation of an agreement
in 2008 or 2009 as to these terms, and his claimed breach of them necessarily
fails as a result.

Further, the plaintiff fails to allege that he performed his obligations
under a contract, which is an essential element of the prima facie case and
subjects this count to dismissal. A claim of breach of contract will necessarily
fail where a party has “failed to allege full performance.” See Eichten, supra, at
761. Here, the plaintiff does not allege anywhere in the Complaint that he fully
performed his obligations under an employment contract. To the contrary, the
plaintiff's other allegations in the Complaint set forth that he failed to perform
his obligations under an employment contract.

The plaintiff does not attach any contract to his Complaint, but he did
attach a letter setting forth the terms and conditions of the University’s offer of
employment in his prior breach action raising the same allegations in

Connecticut Superior Court. See Simons, supra, Compl., Exhibit A. The first
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section of that letter directs the plaintiff to review the Yale University Faculty
Handbook, which includes policies that “represent essential employment
understandings between you and the University” and will “become part of these
understandings.” That letter also provides a link to the Handbook, which
states that the University prohibits all forms of sexual misconduct. See
Handbook, Art. XXI(A).

As the plaintiff concedes, a lengthy, independent inquiry concluded that
the plaintiff had committed sexual harassment in violation of the University’s
sexual misconduct policy. Compl { 20-21. The plaintiff therefore not only
fails to allege that he performed; he actually alleges that he failed to perform.
In other words, he breached what he alleges was a material term of the
contract prior to any claimed breach by the University Defendants, thereby
relieving them of their obligation to perform. See Weiss v. Smulders, 313 Conn.
227, 263 (2014) (“Under contract law, it is well settled that a material breach
by one party discharges the other party's subsequent duty to perform on the
contract.”)

The plaintiffs breach of contract claim alleged in Count One relies on an

alleged breach that occurred in 2013 and is therefore time-barred; and he has
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failed to allege—because he cannot—the essential elements of formation and
performance. Accordingly, Count One should be dismissed.

2. Count Two fails as a matter of law, is time-barred, and fails to state a
plausible claim of breach of the implied warranty of fair dealing for
which relief can be granted.

As demonstrated in § II{A)(1), supra, the plaintiff failed to state a
plausible claim of breach of contract for which relief can be granted. This
failure is fatal to his claim of breach of the implied warranty of fair dealing as
well: “Connecticut law requires a breach of contract in order to plead bad
faith.” Hurlburt v. Massachusetts Homeland Ins. Co., 310 F. Supp. 3d 333, 345
(D. Conn. 2018) (Bolden, J.), citing Valls v. Allstate, 20177 WL 4286301 (D.
Conn. Sept. 27, 2017) (Bolden, J.); Capstone Bidg. Corp. v. Am. Motorists Ins.
Co., 308 Conn. 760 (2013). “Because Plaintiffs, as a matter of law, have not
plead a plausible claim for breach of contract, their claim for breach of the
implied covenant of good faith and fair dealing also fails.” Hurlburt, supra at
345.

Further, the plaintiff's claims are time-barred. Contractual claims under

Connecticut law, including claims alleging violation of implied contractual

duties like the implied warranty of fair dealing, are subject to a six year statute

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of limitations. C.G.S. § 52-576. The plaintiff alleges as specifications of breach
of the implied warranty of fair dealing that he was induced to join the
University on the belief that the positions offered could only be taken away in
certain circumstances; that his removal from the Von Zedtwitz Professorship
did not comply with University policies; and that the “summary manner of
providing him notice” was intended to deprive him of a right to contest the
decision to remove him from the Von Zedtwitz chair. Compl., J] 49, 50, 51.
The plaintiff alleges that he entered into an employment agreement for the
positions offered in 2008. Compl. JJ 8, 44. The plaintiff filed his Complaint on
October 1, 2019. Accordingly, to the extent that the plaintiff claims that the
University breached an implied warranty of fair dealing by inducing him in
2008 to join the University on the belief that the positions offered could only be
taken away in certain circumstances, that claim is time-barred. C.G.S. § 52-
576.

In any event, the plaintiff fails to state a plausible claim of breach of the
implied warranty of fair dealing for which relief can be granted. In order to
survive a motion to dismiss this claim, the plaintiff must allege bad faith,

which “means more than mere negligence; it involves a dishonest purpose.”

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Calzone v. State Farm Fire & Cas. Co., 2017 WL 5013234, at *1 (D. Conn. Nov.
2, 2017) (Shea, J.), citing Karas v. Liberty Ins. Corp., 33 F. Supp. 3d 110 (D.
Conn. 2014). Bad faith includes “both actual or constructive fraud, or a design
to mislead or deceive another, or a neglect or refusal to fulfill some duty or
some contractual obligation, not prompted by an honest mistake as to one's
rights or duties, but by some interested or sinister motive.” Habetz v. Condon,
224 Conn. 231, 237 (1992).

The plaintiff has not alleged a “dishonest purpose” or a “sinister motive.”
The plaintiff does not allege the University had a sinister motive in inducing
him to join the University. Compl. ¢ 49. He does not allege that his removal
from the Von Zedtwitz Professorship was for a “dishonest purpose” or “sinister
motive,” only that the removal was made “in response to negative publicity.”
Compl. ¢ 50. Finally, the plaintiff cannot maintain the allegation that he was
removed from the Von Zedtwitz Professorship without a meaningful opportunity
to contest the removal, because he alleges elsewhere that he [1] refused a
request to resign that Professorship made by defendant Dr. Alpern, the Dean of

the Yale University School of Medicine, and [2] sought ex parte injunctive relief

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and permanent relief in an action in the Connecticut Superior Court.2 Compl.
qq 91, 39.

The plaintiff's claims relating to his employment in 2008 are time-barred,
and he has not pleaded an underlying breach or a sinister motive as required.
The plaintiff's claim of breach of the implied warranty of fair dealing alleged in
Count Two should therefore be dismissed.

3. Count Three is time-barred, and fails to state a plausible claim of
wrongful discharge for which relief can be granted.

Tort claims arising under Connecticut law are subject to a three year
statute of limitations. C.G.S. § 52-577. To the extent that that the plaintiff
seeks with his common-law wrongful discharge claim redress for his
suspension in 2013 for violating the University’s sexual misconduct policy, or
any other actions that took place prior to October 1, 2016, the claim is time-
barred. C.G.S. § 52-577.

In any event—and more fatally—the plaintiff has not alleged any of the

elements of a Connecticut common-law wrongful discharge claim; so he has

 

2 It bears repeating that after his application for injunctive relief was denied and the University
moved to dismiss the action, the plaintiff failed to oppose the motion to dismiss and instead
withdrew the action, which had sought his restoration to the Von Zedtwitz Professorship.
Simons, supra, Docs, 101, 107.

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failed to state a claim upon which relief can be granted and Count Three
therefore must be dismissed. At the outset, the plaintiff cannot make out a
claim of wrongful discharge in violation of public policy because he was not
discharged at all. The common-law wrongful discharge claim is only available
“for the discharge of an at will employee if the former employee can prove a
demonstrably improper reason for dismissal, a reason whose impropriety is
derived from some important violation of public policy.” Burnham v. Karl and
Gelb P.C., 252 Conn. 153, 181 (2000) (citations omitted) (emphasis supplied).
By his own allegation, “Dr. Simons remains an employee of the University.”
Compl. J 42. His claim for common-law wrongful discharge therefore fails on
this basis.

Further, he has failed to allege any other elements of a common-law
wrongful discharge claim. Specifically, he has not alleged that the University’s
discharge violates public policy; that he is otherwise without a remedy; or that
permitting his discharge to go unredressed would leave a valuable social policy
unvindicated. See Lopez v. Burris Logistics Co., 952 F. Supp. 2d 396, 405 (D.
Conn. 2013), on reconsideration (Sept. 23, 2013) (Haight, J.), citing Burnham v.

Karl and Gelb P.C., 252 Conn. 153 (2000); Atkins v. Bridgeport Hydraulic Co., 5

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Conn.App. 642 (1985). The plaintiff only alleges in a conclusory manner that
“the Defendants engaged in wrongful discharge” by removing him from the Von
Zedtwitz Professorship and that he suffered damages. Compl. {{ 54-55. These
are no more than conclusions, and they are “not entitled to the assumption of
truth” on a motion to dismiss. See Hayden v. Paterson, 594 F.3d 150, 161 (2d
Cir.2010), quoting Iqbal, supra at 679.

The plaintiff identified no public policy that the University’s conduct
violated, and his claim fails for that reason. Further, though, there is no public
policy that the plaintiff could identify to plead a claim of wrongful discharge.
Where public policies are embodied and protected by statutes—here, Title VII,
Title IX, 42. U.S.C. § 1981—a common-law wrongful discharge claim is barred.
Compl. 4 1; see e.g. Swihart v. Pactiv Corp., 187 F. Supp. 2d 18, 25 (D. Conn.
2002) (Goettel, J.) (“In this case, plaintiff has alleged that she was terminated
in retaliation for complaining about discriminatory practices at the plant,
which, if true, would violate important public policies embodied in Title VII. As
defendant correctly asserts, because plaintiff already has an adequate
statutory remedy, this Court will not recognize a separate claim for wrongful

discharge in violation of public policy.”); see also Lopez, supra at 405 (collecting

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cases).

The plaintiff's claims relating to his suspension and other actions
occurring prior to 2016 are time-barred. Most critically, however, he has failed
to allege that he was discharged; that his discharge violated a public policy;
that he has no remedy; or that a public policy is at issue, as required to allege
a valid and plausible claim for wrongful discharge under Connecticut law. The
plaintiff's wrongful discharge claim in Count Three should therefore be
dismissed for failing to state a claim upon which relief can be granted.

4. Count Four is time-barred, and fails to state a plausible claim of
negligent infliction of emotional distress for which relief can be granted.

Tort claims arising under Connecticut law are subject to a three year
statute of limitations. C.G.S. § 52-577. To the extent that that the plaintiff
seeks with his negligent infliction of emotional distress claim redress for his
suspension in 2013 for violating the University’s sexual misconduct policy, or
any other actions that took place prior to October 1, 2016, the claim is time-
barred. C.G.S. § 52-577.

The plaintiffs claim of negligent infliction of emotion distress, like his

claim for wrongful discharge, fails to state a plausible claim for relief in any

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event because it fails to allege that his employment was terminated as required.
“[Nlegligent infliction of emotional distress in the employment context arises
only where it is based upon unreasonable conduct of the defendant in the
termination process.” Ramsey v. Network Installation Servs., Inc., 2008 WL
4447091, at *2 (D. Conn. Sept. 3, 2008) (Hall, J.), quoting Perodeau v. City of
Hartford, 259 Conn. 729, 750 (Conn.2002). The plaintiff concedes that the
University’s alleged conduct took place in the context of his continuing
employment, which continues to this day. See Ramsey, supra at *2; Complaint
4 42. Because the plaintiff has not alleged that his employment was
terminated, his negligent infliction of emotional distress claim fails to state a
plausible claim for which relief can be granted.

Further, the plaintiff has not alleged, as required, that the University’s
conduct involved an “unreasonable risk of emotional distress that might result
in bodily harm.” Perodeau, supra at 752. The plaintiff only alleges that the
University “acted in such a matter as [to] negligently cause Dr. Simons to suffer
emotional distress and humiliation.” Compl. § 57. Accordingly, Count Four
should be dismissed on this additional basis. See Ramsey, supra at *2.

The plaintiff's claims relating to his suspension and other actions

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occurring prior to 2016 are time-barred. Most significantly, however, he has
failed to allege either that the University negligently inflicted emotional distress
in the context of the termination of his employment, or that the University’s
conduct involved an unreasonable risk of emotional distress that might result
in bodily harm, both of which are required to state a claim for negligent
infliction of emotional distress under Connecticut law. The plaintiff’s negligent
infliction of emotional distress claim in Count Four should therefore be
dismissed.

5. Count Five is time-barred, fails to state a plausible claim under Title
IX upon which relief can be granted.

The Court applies Connecticut’s three-year statute of limitations for
actions founded upon a tort to alleged violations of Title IX. See Curto v.
Edmundson, 392 F.3d 502, 504 (2d Cir. 2004); C.G.S. § 57-577. To the extent
that the plaintiff seeks redress here for his suspension in 2013 for violating the
University’s sexual misconduct policy, or any other actions that took place
prior to October 1, 2016, the claim is time-barred. C.G.S. § 52-577.

In any event, to the extent that this Count is understandable, it appears

to allege a violation of Title IX based on the allegedly cumulative discipline of

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Dr. Simons. Compl. § 61. Title IX actions “attacking a university disciplinary
proceeding on grounds of gender bias can be expected to fall generally within
two categories”:
In the first category, the claim is that the plaintiff was
innocent and wrongly found to have committed an
offense. In the second category, the plaintiff alleges
selective enforcement. Such a claim asserts that,
regardless of the student's guilt or innocence, the
severity of the penalty and/or the decision to initiate
the proceeding was affected by the student's gender.
Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994).

The plaintiff does not allege that the University wrongly found that he
committed an offense under the University’s sexual misconduct policy. See
Compl. { 21. To the contrary, he acknowledges that the finding was made after
a lengthy independent inquiry by Hon. Beverly Hodgson (ret.), the discipline of
suspension was imposed, and he thereafter was in good standing with the
University. Compl. Jf 20-21, 25. He simply alleges that the University, in
removing him from the Von Zedtwitz Professorship, was “punishing him twice
for the same conduct.” Compl q 61.

Accordingly, the plaintiff’s Title IX claim falls under the “selective

enforcement” category, and the plaintiff must therefore plausibly allege that,

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regardless of his “guilt or innocence, the severity of the penalty and/or the
decision to initiate the proceeding was affected by the [plaintiffs] gender.”
Yusuf, supra at 715. That is, the plaintiff must allege with particularity a
causal connection between a procedurally or otherwise flawed proceeding and
gender bias. Id. This requires the plaintiff to allege “particular circumstances
suggesting that gender bias was a motivating factor behind the erroneous
finding.” Id. “Such allegations might include, inter alia, statements by
members of the disciplinary tribunal, statements by pertinent university
officials, or patterns of decision-making that also tend to show the influence of
gender.” Id.

The plaintiff does not make any particularized allegations suggesting
gender bias. He does not allege that members of the disciplinary tribunal or
University officials made statements that reflected a bias against men. The
only paragraphs concerning statements by University officials allege that the
University stated it did not intend to confer an additional honor on the plaintiff
when he was transferred from the Berliner Professorship to the Von Zedtwitz
Professorship, Compl. ¢ 35, and that Dr. Alpern later stated he “was concerned

about public criticism directed at the University’s transfer of the plaintiff to the

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Waldemar Von Zedtwitz Professorship.” Compl. | 37. Neither statement
makes a particularized allegation that suggests a gender bias.

In paragraphs 66 and 67 of the Complaint—which paragraphs are not
incorporated into Count 5 alleging a violation of Title [IX—the plaintiff alleges
that the University “never punished a female multiple times for the same
conduct in any disciplinary action involving sexual harassment” and that
“Upon information and belief, the defendants have subjected only Caucasian
males to punishment twice for the same conduct.” However, such “wholly
conclusory allegations of this nature will not suffice for the purposes of Rule
12(b)(6).” Yusuf, supra at 715.

Fatally, the plaintiff does not allege facts suggesting that the University
ever received a complaint against a similarly-situated female faculty member
comparable to the complaint lodged against the plaintiff, or that the University
treated such a female faculty member differently. See Routh v. Univ. of
Rochester, 981 F. Supp. 2d 184, 211 (W.D.N.Y. 2013) (Siragusa, J.) (dismissing
selective enforcement claim for failing to allege more favorable treatment of
similarly situated comparator); Prasad v. Cornell Univ., 2016 WL 3212079, at

*18 (N.D.N.Y. Feb. 24, 2016) (McAvoy, J.) (same); Rolph v. Hobart & William

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Smith Colleges, 271 F. Supp. 3d 386, 404 (W.D.N.Y. 2017) (Wolford, J.} (same);
Xiaolu Peter Yu v. Vassar Coll., 97 F. Supp. 3d 448, 480 (S.D.N.Y. 2015)
(Abrams, J.) (same); Curto v. Smith, 248 F. Supp. 2d 132, 147 (N.D.N.Y. 2003)
(same), affd in part, appeal dismissed in part sub nom. Doe v. Anonymous
Unnamed Sch. Employees & Officials of Corneil Univ. Coll. of Veterinary Med., 87
F. App'x 788 (2d Cir. 2004), and aff'd, 93 F. App'x 332 (2d Cir. 2004).

The plaintiff has accordingly failed to plead a violation of Title IX or the
due process afforded thereunder. Further, insofar as the plaintiffs allegation
that the University’s conduct was a “violation of the due process requirements
of Title IX” is an attempt to raise Constitutional due process claims, those
claims must fail as a matter of law. Compl. ] 61. Claims alleging a violation of
constitutional equal protection or due process can only be brought against
state actors. See Giano v. Senkowski, 54 F.3d 1050, 1057 (2d Cir.1995) (equal
protection); United States v. Int'l Bhd. of Teamsters, Chauffeurs, Warehousemen
& Helpers of Am., AFL-CIO, 954 F.2d 801, 806 (2d Cir.1992) (due process). The
University is a private university, and the plaintiff does not allege the
University was a state actor. See Yu, supra at 461-63 (as “a private college,

and not a state actor, the federal Constitution does not establish the level of

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due process that [the University] had to give [the plaintiff] in his disciplinary
proceeding.”).

The plaintiffs claims relating to his suspension and other actions
occurring prior to 2016 are time-barred; most critically, however, he has failed
to make any factual allegations from which a plausible, valid inference of
gender bias could be drawn, and his claimed violation of Title IX alleged in
Count Five should therefore be dismissed. Any purported claims for violation
of constitutional equal protection or due process rights likewise must be
dismissed in the absence of any alleged state action as required.

6. Count Six is time-barred, and fails to state a plausible claim under
Title VII for which relief can be granted.

A party must exhaust his administrative remedies for each discrete act of
discrimination or lose the ability to recover for it. See National R.R. Passenger
Corp. v. Morgan, 536 U.S. 101, 110, 114 (2002). A Title VII suit must be filed
within 90 days of receiving the notice of right to sue from the Equal
Employment Opportunity Commission. 42 U.S.C. § 2000e-5(f}(1). Applying the
foregoing authority to the plaintiff’s Title VII claim disposes of it. The plaintiff

does not allege that he received a notice of right to sue from the Equal

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Employment Commission. Compl. at 441. Further, the University has not
received service of a notice of right to sue given to the plaintiff. This alone is
fatal to the plaintiff's claims. See Morgan, supra at 110.

The receipt of a release of jurisdiction from the Connecticut Commission
on Human Rights and Opportunities is a prerequisite to the filing of a suit
alleging violations of the Connecticut Fair Employment Practices Act, not
violations of Title VII. See C.G.S. § 46a-101(e). The plaintiff alleges that he
received a release of jurisdiction from the Commission on Human Rights and
Opportunities but omits the date on which it was issued. Compl. J 41. That
release of jurisdiction was issued June 11, 2019. See Exhibit C.5 The plaintiff
filed this lawsuit on October 1, 2019. Accordingly, even if a notice of right to
sue had been issued by the Equal Employment Opportunity Commission
contemporaneously with the release of jurisdiction issued by the Commission
on Human Rights and Opportunities on June 11, 2019, the plaintiff's action
alleging a Title VII violation was filed 112 days later, on October 1, 2019,

instead of within 90 days, by September 9, 2019 as required. The plaintiff's

 

3 The Court may consider this document in deciding the motion to dismiss as documents
incorporated into the complaint by reference, or as documents in the plaintiff's possession and
on which the plaintiff relied in bringing suit. See McCarthy, supra at 191; Brass, supra at 150.

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action is therefore time-barred and should be dismissed on that basis alone.
42 U.S.C. § 2000e-5(f)(1).

Further, the plaintiff has failed to allege nearly every element of his
claim. “[A]bsent direct evidence of discrimination, what must be plausibly
supported by facts alleged in the complaint is that the plaintiff is a member of a
protected class, was qualified, suffered an adverse employment action, and has
at least minimal support for the proposition that the employer was motivated
by discriminatory intent.” Littlejohn v. City of New York, 795 F.3d 297, 311 (2d
Cir. 2015). Here, the plaintiff failed to allege that he is qualified. He alleges
his academic credentials, Compl. J 8, but also alleges that he was found to
have violated the University’s sexual misconduct policy. Compl. | 21. The
University prohibits all forms of sexual misconduct by all its employees. See §
III(A)(1), supra. As the plaintiff concedes, a lengthy, independent inquiry
concluded that he had committed sexual harassment in violation of the
University’s sexual misconduct policy. Compl 7 20-21. The plaintiff's
Complaint therefore sets forth allegations establishing that he is not a qualified
employee.

Moreover, “[a]Jn adverse employment action is “more disruptive than a

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mere inconvenience or an alteration of job responsibilities.” Littlejohn, supra at
n.10 (internal quotation marks and citation omitted). The plaintiff failed to
allege that his removal from the Von Zedtwitz Professorship was a materially
adverse change in employment, and this claim fails on that basis as well. As
the plaintiff has alleged, he remains a physician, medical researcher, and
faculty member of the Yale School of Medicine and is employed by Yale
University. Compl. J{ 3, 42.

Neither does the plaintiff allege that the University discharged him or
otherwise discriminated against him because of his sex. As the plaintiff
alleges, he was removed from the Von Zedtwitz chair “for the express purpose
of placating those #MeToo activists and sympathizers in the grip of moral panic
and self-righteous indignation.” Compl. J 68. The plaintiff's allegations are
consistent with the findings of the Connecticut Commission on Human Rights
and Opportunities, which dismissed the plaintiff's complaint because this
removal from the Von Zedtwitz Professorship “was based on the Complainant’s
previous violation of the Respondent’s sexual misconduct policy, not the

Complainant’s protected classes.” See Exhibit B.4 Indeed, the Commission

 

4 See note 3, supra.

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concluded, as should this Court: “As this complaint contains no allegation that
the Respondent removed the Complainant from the endowed professorship
because of his sex or gender identity, it is not legally sustainable as alleged.”
Exhibit B.

As demonstrated in § III(A)(6), supra, the plaintiff's wholly conclusory
allegations that he was treated differently than unidentified women are
insufficient to survive a motion to dismiss. “A plaintiff relying on disparate
treatment evidence must show she was similarly situated in all material
respects to the individuals with whom she seeks to compare herself.” Mandell
v. Cty. of Suffolk, 316 F.3d 368, 379 (2d Cir. 2003) (internal quotation marks
omitted). The plaintiff does not identify any comparators; or plead facts that
the University ever received a complaint against such a female faculty member
that was comparable to the complaint lodged against the plaintiff; or allege that
the University treated such a female faculty member differently. Accordingly,
the Court should refuse to consider these allegations. Mandell, supra at 70.

Finally, although the plaintiff never alleges a violation of 28 U.S.C. §
1981 in this Count, which is captioned “Discrimination on Account of Gender,”

he alleges that § 1981 provides a statutory basis for his Complaint. Compl. {

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1. He further alleges in this Count that he “is a Caucasian male” and that the
University “has only subjected Caucasian males to punishment twice for the
same conduct.” Compl. J§ 65, 67. To the extent that the plaintiff alleges a
violation of § 1981, it bears emphasis that he has failed to state a plausible
claim under that statute as well, as the foregoing analysis will apply with equal
force. See Johnson v. Andy Frain Servs., Inc., 638 F. App'x 68, 70 (2d Cir.
2016) (affirming dismissal of Title VII and § 1981 claims for failing to state a
plausible claim).

The plaintiff’s Title VII claims are time-barred for failing to allege or
obtain a release of jurisdiction from the Equal Employment Opportunity
Commission. The plaintiff failed to allege that he was qualified, that he
suffered an adverse employment action, or that the adverse employment action
was taken because of his sex. To the extent he is attempting to raise a racial
discrimination claim under § 1981, his claim fails for the same reasons. The

plaintiff's Title VII claim in Count Six should accordingly be dismissed.

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7. Count Seven is time-barred, and fails to state a plausible claim for
invasion of privacy for which relief can be granted.

Tort claims arising under Connecticut law are subject to a three year
statute of limitations. C.G.S. § 52-577. The plaintiff alleges that the discipline
imposed on him in 2013 was disclosed to the New York Times in 2013. Compl
{1 23-24. To the extent that that the plaintiff seeks with his invasion of
privacy claim redress for any publicity of the disciplinary proceedings against
him in 2013, or any other actions that took place prior to October 1, 2016, the
claim is time-barred. C.G.S. § 52-577.

In order to plead a claim of invasion of privacy, the plaintiff must allege
that the defendant intentionally invaded the privacy of the plaintiff by “(a)
unreasonable intrusion upon the seclusion of [the plaintiff]; (b) appropriation of
the [plaintiff's] name or likeness; (c) unreasonable publicity given to [the
plaintiff's] private life; or (d) publicity that unreasonably placed [the plaintiff] in
a false light before the public.” Davidson v. Bridgeport, 180 Conn. App. 18, 29
(2018). The plaintiff must also plead that “the intrusion would be highly
offensive to a reasonable person.” Id. The plaintiff’s claims fail at the outset

because he never alleged that any of the University Defendants invaded his

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privacy. He only alleges “one or unknown persons,” “one or more persons
unknown sympathetic to the #MeToo movement” and “unknown defendants
affiliated with Yale” did so. Compl. Jf 23, 27, 70. The plaintiff has never
alleged that the University Defendants invaded his privacy. That is insufficient
and fatal to his claim here. See Davidson, supra at 30.

Further, the fact that the circumstances of the plaintiffs disciplinary
proceedings were published in 2013 requires dismissal of any subsequent
claims arising after October 1, 2016. Because the circumstances of the
plaintiff's discipline were published in 2013, the alleged re-circulation of that
information five years later in 2018 by “one or more persons unknown” is
necessarily not an unreasonable intrusion into the plaintiff's seclusion. Compl.
27. By the plaintiff's own allegation, his disciplinary proceedings had been
the subject of national news five years previously. Compl. J§ 23-24. The
plaintiff had no plausible privacy interest to be intruded upon in this regard,
much less privacy that was intruded upon unreasonably.

The plaintiff has also failed to allege that unreasonable publicity was
given to his life. As discussed above, by his own admission, the plaintiff's

conduct was previously the subject of national news. Compl. { 26. Equally,

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the plaintiff failed to allege that the publicity unreasonably placed him in a
false light. He expressly alleged that the complaint against him was
substantiated after an independent inquiry, Compl. { 21, and does not allege
that the publication of the circumstances of that inquiry and subsequent
discipline in 2013 and re-circulation of that information in 2018
mischaracterized the circumstances of his inquiry or discipline. Compl. 7 23,
27.

Finally, the plaintiff has not alleged that there was an intrusion that
would be highly offensive to a reasonable person. Not only does the plaintiff
fail to include any allegations in this regard, the plaintiff himself made these
and many more other private facts public on September 21, 2018 when he filed
his Superior Court action. See Simons, supra, Complaint.

The plaintiff's claims relating to the publicity of his discipline and other
actions occurring prior to 2016 are time-barred, and for that reason his claims
relating to the later re-circulation of that prior publicity necessarily fail. The
plaintiff further failed to allege that unreasonable publicity was given to his life,
or that the publicity placed him in a false light. The plaintiff’s invasion of

privacy claim in Count Seven should therefore be dismissed.

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8. The plaintiff has failed to allege diversity jurisdiction over the
plaintiff's claims arising under Connecticut Law.

Count One, alleging breach of contract, Count Two, alleging breach of the
implied warranty of fair dealing, Count Three, alleging wrongful discharge,
Count Four, alleging negligent infliction of emotional distress, and Count
Seven, alleging invasion of privacy, all arise under Connecticut law. The
plaintiff has alleged that the Court’s exercise of jurisdiction over these claims is
proper under 28 U.S.C. § 1332. Compl. § 2. As relevant here, that provision
grants the Court original jurisdiction over civil actions between citizens of
different states. 28 U.S.C. § 1332(a). “In order for a case to fall under the
federal diversity statute, the plaintiff must prove diversity of the parties, and an
amount in controversy that appears, to a “reasonable probability,” to be in
excess of the statutory jurisdictional amount of $75,000.” Fernicola v. Toyota
Motor Corp., 313 F. App'x 408, 408 (2d Cir. 2009), quoting Scherer v. Equitable
Life Assurance Soc’y, 347 F.3d 394, 397 (2d Cir. 2003). The plaintiff's
jurisdictional allegations do not meet either of these requirements and the
Court is therefore without jurisdiction over the plaintiff's claims arising under

Connecticut law.

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The plaintiff alleges that he is a resident of Connecticut’, the University
is organized in Connecticut, that Peter Salovey serves as its President, and that
Dr. Robert Alpern serves as its Dean of the School of Medicine. Compl. §{ 3-6.
Accordingly, the plaintiff has not alleged diversity of citizenship. In fact, the
plaintiff has alleged that there is no diversity of citizenship between the parties,
and the Court therefore does not have original jurisdiction over the plaintiff's
claims arising under Connecticut law. See Fernicola, supra at 408.

Further, while the plaintiff alleges that he suffered damages in the form
of lost wages, grant opportunities, and other ascertainable economic loss,
Compl. {{] 47, 52, 55, 63, none of his allegations disclose the magnitude of
those damages. Indeed, the plaintiff included no demand in his Complaint.
See Civil Cover Sheet, Compl. at 1. Simply, it is not apparent to a “reasonable
probability” that the plaintiff's damages exceed the amount in controversy
requirement, and for that reason the Court does not have original jurisdiction

over the plaintiff’s claims arising under Connecticut law.

 

5 “Although it is well-established that allegations of residency alone cannot establish
citizenship, Plaintiffs Complaint merely alleges that he resides in” Connecticut. Kozak v. Pac.
Summa Envil. Corp., 2008 WL 268325, at *2 (E.D.N.Y. Jan. 30, 2008) (Hurley, J.). “The
Complaint therefore fails to allege diversity jurisdiction.” Id.

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While “[d]efective allegations of jurisdiction may be amended, upon
terms, in the trial or appellate courts,” a proposed amendment is futile if the
proposed claim could not withstand a Rule 12(b)(6) motion to dismiss. 28
U.S.C. § 1653; Lucente v. IBM Corp., 310 F.3d 243, 258 (2d Cir. 2002).

Because the plaintiffs Connecticut law claims cannot withstand a Rule 12(b)(6)
motion, as set forth in §§ III(A)(1)-(7), supra, and the plaintiff has not requested
leave to amend, the Court should not permit amendment to remedy the
plaintiff's defective jurisdictional allegations.

The plaintiff has not alleged diversity of citizenship of the parties, and
has not alleged an amount in controversy. There is no basis to permit
amendment where it would be futile as subject to dismissal. Accordingly, the
plaintiffs claims arising under Connecticut law, Counts One, Two, Three, Four,
and Seven, should be dismissed.

9. The Court should decline to exercise supplemental jurisdiction over
the plaintiff's claims arising under Connecticut Law.

As set forth in § III(A)(9), supra, the plaintiff has failed to allege a
jurisdictional basis for Counts One, Two, Three, Four and Seven, arising under

Connecticut law. Although the plaintiff failed to allege it as a jurisdictional

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basis, 28 U.S.C. § 1367 provides that where the Court has original jurisdiction,
it shall have supplemental jurisdiction over all claims that “are so related that
they form part of the same case or controversy under Article III of the United
States Constitution.” The plaintiff is not entitled to amend his complaint to
allege this jurisdictional basis, because such an amendment would be futile
where Counts One, Two, Three, Four and Seven are subject to dismissal under
F.R.C.P. 12(b)(6). See Lucente, supra, at 258.

However, even if the plaintiff were permitted to do so, the Court should
decline to exercise supplemental jurisdiction pursuant to 28 U.S.C. § 1367(c).
As relevant here, that provision permits the Court to decline the exercise of
supplemental jurisdiction where “the district court has dismissed all claims
over which it has original jurisdiction.” As set forth in § IJI(A)(5)-(6), the only
two claims the plaintiff has brought under the laws of the United States—
Count Five alleging a violation of Title IX, and Count Six alleging a violation of
Title VII—are subject to dismissal. “It is well settled that where, as here, the
federal claims are eliminated in the early stages of litigation, courts should
generally decline to exercise pendent jurisdiction over remaining state law

claims.” Klein & Co. Futures v. Bd. of Trade of City of New York, 464 F.3d 255,

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262 (2d Cir. 2006).

The plaintiff has not alleged supplemental jurisdiction. There is no basis
to permit amendment where it would be futile as subject to dismissal.
Accordingly, the Court should decline to exercise supplemental jurisdiction
over the plaintiff’s claims arising under Connecticut law, Counts One, Two,
Three, Four and Seven.

B. The Complaint’s allegations regarding “unknown persons” should be
stricken.

“As a general rule, the use of John Doe to identify a defendant is not
favored.” In re Murphy, 482 F. App'x 624, 627 (2d Cir. 2012) (citation and
alteration omitted, emphasis supplied). Here, the plaintiff has alleged that that
“one or unknown persons,” “one or more persons unknown sympathetic to the
#MeToo movement” and “unknown defendants affiliated with Yale” invaded his
privacy. Compl. JJ 23, 27, 70. The plaintiffs allegations do not fall into the
limited exception, “in which the identity of alleged defendants may not be
known prior to the filing of a complaint.” Murphy, supra at 627 (citation
omitted). This exception is limited to circumstances where the plaintiff has not

been given “an opportunity through discovery to identify the unknown

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defendants.” Id. (citation and internal quotation marks omitted). Here, as in
Murphy, supra, the plaintiff “had ample opportunity” to discover the identity of
the unknown persons. Specifically, the plaintiff initiated an action in
Connecticut Superior Court on September 21, 2018, seeking an injunction
against his removal from the Von Zedtwitz Professorship and alleging breach of
contract. See Simons, supra, Complaint. The plaintiff had ample opportunity
to serve discovery requests®, but instead served none, failed to oppose the
University’s motion to dismiss, and, on the eve of argument, withdrew the
action. See Simons, supra, Doc. 107. Accordingly, the plaintiff's allegations
concerning “unknown persons” in paragraphs 23, 27 and 70 of the complaint
should be stricken as “impertinent matters.” F.R.C.P. 12(e).

C. The Complaint’s allegations regarding “unknown persons” require a
more definite statement.

In the alternative, the plaintiff’s allegations regarding “unknown persons”
are “so vague or ambiguous that the party cannot reasonably prepare a
response,” and therefore require a more definite statement. F.R.C.P. 12(f). As

discussed in § III(A)(7), supra, the “unknown persons” allegations, which form

 

6 Pursuant to Practice Book § 13-6(a) and 13-9(c), the plaintiff was permitted to serve
interrogatories and requests for production on any date after the return date, October 16,
2018. See Simons, supra, Complaint.

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the basis of Count Seven alleging invasion of privacy, are so vague and
ambiguous that they fail to allege which person or persons invaded the
plaintiffs privacy and are therefore subject to dismissal. “[I]f the pleading is
impermissibly vague, the court may act under Rule 12(b)(6) or Rule 12(e),
whichever is appropriate, without regard to how the motion is denominated.”
Ramey v. Morgan, 2017 WL 5171846, at *2 (D. Conn. Nov. 7, 2017) (Meyer, J.),
quoting 5C Charles Alan Wright & Arthur Miller, Federal Practice & Procedure
§ 1376 (3d ed. 2004). The plaintiff's allegations regarding “unknown persons”
are so vague and ambiguous that the University Defendants cannot prepare a
response. Accordingly, the allegations regarding “unknown persons” in
paragraphs 23, 27, and 70 require a more definite statement.
Iv. CONCLUSION

The plaintiff's Complaint should be dismissed in its entirety because
each of its seven counts is time-barred and fails to state a plausible, valid claim
upon which relief can be granted. The plaintiff's has failed to allege that his
discipline by the University in 2013 or his removal from the Von Zedtwitz
Professorship in 2018 are actionable as a breach of contract, the very claim he

voluntarily withdrew in the Connecticut Superior Court. See Simons, supra,

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Doc. 107. Further, the plaintiff has failed to allege that his discipline or

removal from the Von Zedtwitz Professorship is actionable as a breach of the

implied warranty of fair dealing, wrongful discharge, negligent infliction of

emotional distress, violations of Title IX or Title VII, or as an invasion of

privacy. The plaintiff has failed to allege diversity jurisdiction with respect to

his claims arising under Connecticut law, and the Court should decline to

exercise supplemental jurisdiction over those claims. The complaint’s

allegations concerning “unknown persons” should be stricken as impertinent,

or, in the alternative, require a more definite statement in view of their

vagueness and ambiguity.

BY:

   

THE UNIVERSITY DEF

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CERTIFICATION:

This is to certify that a copy of the foregoing has been sent to all required
notification parties either via operation of the Court’s electronic notification

system or by first-class mail, postage pre-paid to anyone unable to accept such
notification/on Novembé¢r Yy7, 2019.

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CLENDENEN & SHEA, LLC

   
  

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